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    ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024
             No. 24-1113 (and consolidated cases)

                                  IN THE
                   United States Court of Appeals
                 for the District of Columbia Circuit
                                 ———————

            TIKTOK INC. and BYTEDANCE LTD.,
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                       Respondent.
                                 ———————

                     caption continued on inside cover
                                 ———————

            On Petitions for Review of Constitutionality of
     the Protecting Americans from Foreign Adversary Controlled
                           Applications Act
                                 ———————

BRIEF OF PETITIONERS TIKTOK INC. AND BYTEDANCE LTD.
                                 ———————

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                BRIAN FIREBAUGH, et al.,
                                       Petitioners,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                       Respondent.
                               ———————




                  BASED Politics Inc.,
                                        Petitioner,
                             v.
MERRICK B. GARLAND, in his official capacity as Attorney General of
                    the United States,
                                       Respondent.



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         CERTIFICATE AS TO PARTIES, RULINGS, AND
                     RELATED CASES

     Pursuant to Circuit Rule 28(a)(1), Petitioners TikTok Inc. and

ByteDance Ltd. certify as follows:

I.   Parties and Amici

     The parties to TikTok Inc. v. Garland, No. 24-1113, are petitioners

TikTok Inc. and ByteDance Ltd. and respondent Merrick B. Garland, in

his official capacity as Attorney General of the United States. The parties

to the first consolidated case, Firebaugh v. Garland, No. 24-1130, are

petitioners Brian Firebaugh, Chloe Joy Sexton, Talia Cadet, Timothy

Martin, Kiera Spann, Paul Tran, Christopher Townsend, and Steven

King and respondent Merrick B. Garland, in his official capacity as

Attorney General of the United States.        The parties to the second

consolidated case, BASED Politics Inc. v. Garland, No. 24-1183, are

petitioner BASED Politics Inc. and respondent Merrick B. Garland, in

his official capacity as Attorney General of the United States. No amicus

curiae has appeared in any of the three actions. Because these petitions

were filed directly in this Court, there were no district-court proceedings

in these cases.




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II.   Orders Under Review

      Petitioners seek direct review of whether the Protecting Americans

from Foreign Adversary Controlled Applications Act, Pub. L. No. 118-50,

div. H (2024), is constitutional. There are therefore no prior rulings

under review.

III. Related Cases

      These cases were not previously before this Court or any other

court. Counsel for Petitioners TikTok Inc. and ByteDance Ltd. are not

aware of any other case currently pending before this or any other court

that is related to these cases within the meaning of Circuit

Rule 28(a)(1)(C).



                                 /s/ Alexander A. Berengaut
                                 Alexander A. Berengaut

                                 Counsel for Petitioners
                                 TikTok Inc. and ByteDance Ltd.




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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit

Rule 26.1, Petitioners state as follows: TikTok Inc. is a California-

incorporated company that provides the TikTok platform in the United

States. TikTok Inc. is a wholly owned subsidiary of TikTok LLC, which

is a wholly owned subsidiary of TikTok Ltd. TikTok Ltd. is a wholly

owned subsidiary of ByteDance Ltd., a privately held corporation

incorporated in the Cayman Islands, the subsidiaries of which provide a

suite of more than a dozen products and services that allow people to

connect with, create, and consume content on the Internet. TikTok Ltd.

has no other parent, and ByteDance Ltd. has no parent. No publicly

traded company owns 10% or more of the stock of TikTok Inc. or

ByteDance Ltd.




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                          INTRODUCTION

      TikTok is an innovative online platform used by 170 million

Americans. These Americans form part of a unique global community

with more than 1 billion users worldwide, with whom they create, share,

and view videos—“speaking and listening in the modern public square,

and otherwise exploring the vast realms of human thought and

knowledge.” Packingham v. North Carolina, 582 U.S. 98, 107 (2017).

      All that will end on January 19, 2025, when the Protecting

Americans from Foreign Adversary Controlled Applications Act (the

“Act”) will ban TikTok throughout the country.

      The Act is unprecedented. Never before has Congress expressly

singled out and shut down a specific speech forum. Never before has

Congress silenced so much speech in a single act.

      The First Amendment requires this Court to examine such an

extraordinary speech restriction with the utmost care and most exacting

scrutiny.   Yet Congress gave this Court almost nothing to review.

Congress enacted no findings, so there is no way to know why majorities

of the House and Senate decided to ban TikTok.




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         There is no indication Congress even considered TikTok Inc.’s

exhaustive, multi-year efforts to address the government’s concerns that

Chinese subsidiaries of its privately owned parent company, ByteDance

Ltd., support the TikTok platform—concerns that would also apply to

many other companies operating in China. In particular, Congress said

nothing about the less restrictive alternatives to a ban, including the 90-

page National Security Agreement that Petitioners negotiated with the

government, which offers multi-layered safeguards and enforcement

mechanisms. And Congress provided no justification for banning TikTok

by fiat, while creating substantive and procedural protections, as well as

unexplained exclusions, for all other companies alleged to pose the same

risks.

         Without findings, the Court is left with statements of individual

Members and a single committee report.            Many of those Members

criticized cherry-picked content on TikTok, merely reinforcing the Act’s

unconstitutionality. The report invoked national security, pointing to the

speculative possibility that TikTok could be misused in the future.

         But a claim of national security does not override the Constitution.

“[A]gainst [those] dangers … as against others, the principle of the right



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to free speech is always the same.” Abrams v. United States, 250 U.S.

616, 628 (1919) (Holmes, J., dissenting). The Act cannot survive First

Amendment scrutiny at any step of the analysis: it advances no

compelling interests, is not tailored, and disregards less restrictive

alternatives. In addition, and independently, the Act is unconstitutional

because of its unique, two-tiered system of speech regulation, which

singles out TikTok for disfavor. That flaw is sufficient to invalidate the

Act irrespective of any purported national security justification.

      The government will deny that Congress banned TikTok, claiming

the company can execute a “qualified divestiture.” But such a divestiture

is not possible technologically, commercially, or legally—especially

within the Act’s arbitrary 270-day timeline. Petitioners have repeatedly

explained why this type of divestiture would not work, and Congress

apparently never even considered whether it was possible.

      Even if divestiture were feasible, TikTok in the United States would

still be reduced to a shell of its former self, stripped of the innovative and

expressive technology that tailors content to each user. It also would

become an island, preventing Americans from exchanging views with the




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global TikTok community.          Such a speaker- and content-based

divestiture requirement cannot survive scrutiny.

      This law is a radical departure from this country’s tradition of

championing an open Internet, and sets a dangerous precedent allowing

the political branches to target a disfavored speech platform and force it

to sell or be shut down. The Constitution does not allow Congress to

single out one speech platform, make no findings, announce no

justifications, ignore less restrictive alternatives, and discriminate based

on speaker and content.       The Act is unconstitutional and must be

enjoined.

                             JURISDICTION

      This Court has jurisdiction pursuant to Section 3 of the Act and

Article III, section 2 of the Constitution.

                                  ISSUES

      1. Whether the Act violates the First Amendment.

      2. Whether the Act violates equal protection.

      3. Whether the Act is a Bill of Attainder.

      4. Whether the Act effects an unconstitutional taking.




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      5. Whether the Court should declare Section 2(a) of the Act

unconstitutional and enjoin its enforcement with respect to Petitioners’

applications, and declare Section 2(b) of the Act non-severable.

                               STATUTE

      The text of the Act (Pub. L. No. 118-50, div. H (2024)) is reproduced

in an Addendum.

                             STATEMENT

      A.    TikTok Is a Popular and Unique Speech Platform.

      TikTok is an online platform for creating, sharing, and viewing

videos.    App.802 (declaration of Adam Presser, TikTok’s Head of

Operations and Trust & Safety). 1 People use TikTok to communicate

about all manner of topics, from sports and entertainment to religion and

politics. App.805. Users can communicate in a variety of ways, including

by creating, sharing, and commenting on videos, direct messaging other

users, “tagging” others to suggest that they view a video, and creating

new content that incorporates and responds to other users’ videos.

App.803.



1 Because this Court is exercising original jurisdiction, Petitioners are

submitting evidentiary material in an appendix. See Joint Motion to
Govern Proceedings, Doc. #2055129; Order, Doc. #2056398.

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      Since its launch in 2017, TikTok has grown to be one of the most

widely used speech platforms in the world. App.804. TikTok has more

than 170 million monthly users in the United States and more than 1

billion monthly users worldwide. App.804-05.

      Users view content primarily through TikTok’s “For You” feed,

which presents users with videos curated specifically for them by

TikTok’s    innovative    technology,     including     its     proprietary

recommendation engine.      App.807.     Because TikTok is a globally

integrated platform, users can seamlessly access content created around

the world. App.804. In 2023, TikTok users in the United States uploaded

more than 5.5 billion videos that were viewed more than 13 trillion

times—half of these views by users outside the United States. App.805.

That same year, TikTok users in the United States viewed content from

outside the United States more than 2.7 trillion times, accounting for

more than a quarter of all video views in the United States. Id.

      TikTok is provided in the United States by TikTok Inc.—an

American company incorporated and headquartered in California, with

thousands of employees in the United States. App.801. TikTok Inc.’s

ultimate parent is ByteDance Ltd., a privately held Cayman Islands-



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incorporated holding company that owns subsidiaries located around the

world, including in China. App.801. ByteDance was founded in 2012 by

two Chinese engineers.        App.802.     Today, ByteDance Ltd. is

approximately 58%-owned by global institutional investors, 21%-owned

by its global workforce, and 21%-owned by one of its founders, Zhang

Yiming, a Chinese national who lives in Singapore. Id. ByteDance also

provides several applications other than TikTok “for content sharing,

video and music editing … e-commerce, gaming, and enterprise

productivity.” App.802.2

      Like all social-media and entertainment platforms, TikTok must

address important policy and operational challenges, including ensuring

effective and appropriate data security, content moderation, and

protections against improper influence. TikTok has devoted considerable

attention to these challenges. In 2024, it anticipates spending $2 billion

on Trust & Safety globally. App.811. Professor Steven Weber, who




2 In this brief, “ByteDance Ltd.” refers to the Cayman-incorporated
holding company. “ByteDance” refers to the ByteDance group, including
ByteDance Ltd. and subsidiaries and controlled affiliates. “TikTok Inc.”
refers to the U.S. corporate entity that publishes the TikTok platform in
the United States. “TikTok” refers to the online platform, including the
mobile application and web browser experience.

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studies digital technologies and national security, observes that

“TikTok’s approach for dealing with these issues is in line with—and in

many respects markedly better than—industry best practices, even for

companies that hold significant sensitive user data.” App.788.

      Like others in the industry, TikTok moderates content on the

platform to enforce publicly available Community Guidelines. App.811

(Presser Declaration). These Guidelines prohibit content such as videos

featuring nudity, encouraging certain harmful behavior, or promoting

hateful ideologies. App.812. In the last quarter of 2023, TikTok removed

176 million videos for violating the Guidelines. App.814.

      Also like other platforms, TikTok works to combat “covert influence

operations” on the platform. Id. TikTok publishes monthly reports on

these efforts, with information about the accounts it detected and

removed and the countries from which they operated. Id.

      B.   The Law Banning TikTok.

      On March 5, 2024, a bill to ban TikTok was introduced in the House

of Representatives.    Six weeks later, the House packaged a nearly

identical bill with must-pass aid for Israel and Ukraine. That omnibus




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bill quickly passed the House and Senate, and on April 24, 2024, the

President signed the Act into law.

      The Act prohibits various entities, including online mobile

application stores like the Apple and Google app stores, from providing

services to “foreign adversary controlled applications.” It creates two

definitions of “foreign adversary controlled application”: one that applies

automatically if the application is operated by TikTok Inc., ByteDance

Ltd., or their affiliates, and one that creates standards and procedures

for designating applications that are owned by other companies and

publish similar types of content. When an application falls within one of

these definitions, the Act’s prohibitions apply, unless its operator meets

stringent conditions for executing a “qualified divestiture.”

           1.    The Act’s prohibitions

      The Act makes it “unlawful for an entity to distribute, maintain, or

update” a “foreign adversary controlled application” in the United States,

by “[p]roviding services” through an “online mobile application store” or

other “marketplace,” or by “[p]roviding internet hosting services to enable

the distribution, maintenance, or updating of such [an] application.”

Sec. 2(a)(1). Thus, operators of an “app store” may not allow users to



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download or update foreign adversary controlled applications in the

United States. And data centers would almost certainly conclude that

they can no longer store such an application’s code, content, or data.

      As the statutory heading confirms, the point of these proscriptions

is to effect a “Prohibition” of the application. Sec. 2(a)(1). Violators face

substantial per-user penalties. Sec. 2(d)(1)(A).

      If an application is a “foreign adversary controlled application”

because it is operated by TikTok Inc. or ByteDance Ltd., the Act’s

prohibitions take effect 270 days from enactment, i.e., on January 19,

2025. Sec. 2(a)(2)(A). Otherwise, the prohibitions take effect 270 days

after the presidential determination that is part of the statutory

designation process. Sec. 2(a)(2)(B).

           2.    The Act’s definition of “foreign adversary
                 controlled application”

      The Act’s first definition of “foreign adversary controlled

application” is self-executing. An application is automatically deemed a

“foreign adversary controlled application” if it is operated by

“ByteDance[] Ltd.” or “TikTok [Inc.]”; by a subsidiary or successor to

ByteDance Ltd. or TikTok Inc. that is “controlled by a foreign adversary”;

or by an entity owned or controlled by ByteDance Ltd., TikTok Inc., or


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their subsidiary or successor. Sec. 2(g)(3)(A).3 This includes ByteDance-

operated applications other than TikTok.

      For applications that publish similar types of content but are

operated by any other company, a different standard applies, and

imposes on the government substantive and procedural requirements.

      First, the application must be operated by a “covered company.”

Sec. 2(g)(3)(B). A “covered company” is one operating an application like

TikTok that (i) “permits a user to create an account or profile to generate,

share, and view text, images, videos, real-time communications, or

similar content”; (ii) has more than 1,000,000 monthly active users;

(iii) enables users to “generate or distribute content that can be viewed

by other users”; and (iv) enables users “to view content generated by other

users.” Sec. 2(g)(2)(A). If a company’s applications do not allow user-

generated content, it cannot be a covered company.

      Even if these criteria are met, however, “[t]he term ‘covered

company’” excludes a company that “operates a[n] [application] whose

primary purpose is to allow users to post product reviews, business

reviews, or travel information and reviews.” Sec. 2(g)(2)(B). If a company


3 “TikTok” in Section 2(g)(3)(A)(ii) presumably refers to TikTok Inc.




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operates one application with that primary purpose, and other

applications with other purposes, the company is not “covered,” and none

of its applications can be “foreign adversary controlled applications.”

      Second, the covered company must be “controlled by a foreign

adversary.”    Sec. 2(g)(3)(B)(i).   The Act defines “foreign adversary

country” by reference to 10 U.S.C. § 4872(d)(2), covering China, Iran,

North Korea, and Russia. Sec. 2(g)(4). A company is “controlled by a

foreign adversary” if it is a foreign person domiciled in, headquartered

in, with its principal place of business in, or organized under the laws of

one of those countries, if it is at least 20% owned by such persons, or if it

is “subject to the direction or control of” such a person. Sec. 2(g)(1).

      Third, the President must determine that the covered company

“present[s] a significant threat to the national security of the United

States.” Sec. 2(g)(3)(B)(ii).

      Fourth, the President must issue “a public notice” of such a

determination, and submit a “public report to Congress” at least 30 days

before the determination. Id. That report must “describ[e] the specific

national security concern involved,” “contain[] a classified annex,” and




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describe “what assets would need to be divested to execute a qualified

divestiture.” Id.

      Fifth, the President’s determination is subject to judicial review.

Sec. 3(a).

             3.     The Act’s “qualified divestiture” provision

      A “foreign adversary controlled application” can escape the Act’s

prohibitions through a “qualified divestiture.” Sec. 2(c)(1). A divestiture

is “qualified” if the President determines that it (i) results in the

application “no longer being controlled by a foreign adversary,” and

(ii) “precludes the establishment or maintenance of any operational

relationship” between the application’s U.S. operations “and any

formerly affiliated entities that are controlled by a foreign adversary.”

Sec. 2(g)(6).     The prohibited “operational relationship” includes “any

cooperation with respect to the operation of a content recommendation

algorithm or an agreement with respect to data sharing.” Sec. 2(g)(6)(B).

      The President may “grant a 1-time extension” of the prohibitions’

effective date lasting no more than 90 days, but only if the President

certifies that there is “a path to executing a qualified divestiture,”




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“evidence of significant progress,” and “binding legal agreements” in

place. Sec. 2(a)(3).

      C.   The Act Followed Unsuccessful Past Efforts to Ban
           TikTok.

      This is not the first time the government has sought to shut down

TikTok.    In August 2020, the President issued two executive orders

attempting to do just that.

      The first order, invoking the International Emergency Economic

Powers Act, 50 U.S.C. § 1701 et seq., attempted to ban TikTok

purportedly because it “is owned by [a] China-based company,” the

Chinese Communist Party “might be able to ‘access … Americans’

personal and proprietary information,” and “TikTok could be used to

transmit [Communist Party]-approved propaganda.”          TikTok Inc. v.

Trump, 507 F. Supp. 3d 92, 97 (D.D.C. 2020) (quoting 85 Fed. Reg.

48,637, 48,637 (Aug. 6, 2020)).

      Courts enjoined the order. To protect Americans’ First Amendment

rights, Congress denied the President authority to regulate “personal

communications” or the import or export of “information or informational

materials.” 50 U.S.C. § 1702(b)(1), (3). Courts concluded that the order




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exceeded these statutory limitations and raised “serious” constitutional

questions.4 The President subsequently withdrew the order.

      The second order, invoking Section 721 of the Defense Production

Act, 50 U.S.C. § 4565, directed ByteDance Ltd. to divest TikTok’s U.S.

business and user data. 85 Fed. Reg. 51,297 (Aug. 19, 2020). Petitioners

sought this Court’s review. TikTok Inc. v. Comm. on Foreign Inv. (No. 20-

1444). In February 2021, the parties agreed that the petition should be

held in abeyance to allow the parties to negotiate a resolution.

      D.   Petitioners Negotiated an Unprecedented National
           Security Agreement and Have Spent $2 Billion
           Voluntarily Implementing Protections.

      Over the following 18 months, Petitioners continued to work with

the   Committee      on   Foreign   Investment   in   the   United    States

(“Committee”) to address the government’s concerns, culminating in a 90-

page draft National Security Agreement (“Agreement”). See App.157-

260. As explained by Christopher Simkins, a former Senior Counsel at

the Justice Department responsible for its participation in the

Committee, the Agreement “effectively mitigates national security risk


4 TikTok Inc. v. Trump, 490 F. Supp. 3d 73, 83 (D.D.C. 2020); TikTok Inc.,

507 F. Supp. 3d at 112; see also Marland v. Trump, 498 F. Supp. 3d 624,
641 (E.D. Pa. 2020).


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associated with” TikTok through “reliance on multiple trusted third

parties,”   “complex     and   thorough    technical   mitigations,”    and

“unprecedented oversight, monitoring, and very rigorous enforcement

mechanisms.” App.756.

      The Agreement defines protected U.S. user data and provides that

it would be stored in the United States in the cloud environment of U.S.-

based Oracle Corporation.      App.163 (art. 1, § 1.22); App.206 (art. 11,

§ 11.5). That data would be overseen by a new entity, TikTok U.S. Data

Security, supervised by a special board including members subject to U.S.

government approval.        App.166 (art. 2, § 2.1); App.169-70 (art. 3,

§§ 3.1-.2). The Agreement would guard against foreign manipulation of

TikTok’s content, including through third-party monitoring of TikTok’s

content moderation practices, recommendation engine, and other source

code. App.190-201 (art. 9); App.219-22 (art. 16).

      The Agreement would deter and punish violations by, among other

things, affording the government an unprecedented “shut-down option.”

App.230-32 (art. 21, §§ 21.3-.5); App.747 (Simkins Declaration).        The

government would be permitted to suspend TikTok in the United States,




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and impose significant monetary penalties and other remedies, in

response to specified acts of noncompliance. App.230 (art. 21, §§ 21.1-.2).

      Petitioners began to voluntarily implement many of these measures

without waiting for the Agreement to be finalized. App.822 (Presser

Declaration). That effort, sometimes referred to as “Project Texas,” has

cost Petitioners more than $2 billion to date. Id.

      The Agreement was never signed, however, because the Committee

ceased     substantive   engagement       regarding   the    Agreement      in

September 2022.      App.417 (Letter to Justice Department).         Instead,

Committee representatives informed Petitioners in March 2023 that

“senior government officials” demanded divestment—without explaining

why the Agreement was insufficient.           App.417, 421.        Petitioners

repeatedly explained why such a divestment was not possible and

requested meetings with senior officials. App.418-24. Petitioners again

received no meaningful responses. Id.

      E.    Congress Enacted No Findings, While Legislators
            Articulated Varying Concerns.

      The Act contains no legislative findings, leaving no indication of

what rationale—if any—majorities of the House and Senate and the

President agreed to as the reason for banning TikTok.


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      In March 2024, the month before Congress passed the Act, the

Justice Department provided members of Congress a one-page document

describing “key national security concerns.”        App.156.     First, the

Department asserted that “TikTok collects tremendous amounts of

sensitive data,” without alleging that the Chinese government has ever

obtained any such data. Id. Second, the Department asserted that

TikTok’s algorithm “creat[es] the potential for [China] to influence

content on TikTok,” without alleging that China has done so. Id. And

third, the Department asserted that the location of “source code and some

operations … creat[es] the potential” for Chinese influence, again without

alleging that anything like that has ever occurred. Id. The document

further asserts that Chinese law “requires any company doing business

in China” to make its data accessible. Id. The Justice Department did

not explain why these concerns could not be addressed through the

protections in the National Security Agreement.

      Shortly thereafter, a House committee issued a report on a

precursor to the Act.     App.1-18 (H.R. Comm. on Energy & Com.,

Protecting Americans from Foreign Adversary Controlled Applications

Act, H.R. Rep. No. 118-417 (2024) (“House Committee Report”)). The



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report did not address the Act’s two-tiered structure, or explain why it

adopts one standard for TikTok and a different standard for everyone

else. Instead, the report stated that the Act’s purpose is to address

“foreign adversary controlled applications, such as TikTok.”         App.1

(emphasis added). The report asserted that “such applications” “can be

used” by adversaries “to collect vast amounts of data on Americans,

conduct espionage campaigns, and push misinformation, disinformation,

and propaganda on the American public.” App.2.

      The report then “list[ed]” “public statements that have been made”

about TikTok.    App.5.   It cited news reports discussing Petitioners’

implementation of Project Texas, but offered no indication that the House

Committee considered the range of measures in the draft National

Security Agreement. App.4-5.

      No Senate committee held hearings or issued a report on the Act.

      Various legislators offered explanations for supporting the Act.

Some were concerned that TikTok “exposes children to harmful content.”

App.553 (Sen. Cotton); see also App.609 (Sen. Fetterman) (“I voted yes …

to make TikTok safer for our children and national security”). Others

objected to particular content. See App.125 (Sen. Ricketts) (“hashtag



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‘StandwithKashmir’     has   20    times   more    posts    than    hashtag

‘TaylorSwift’”); App.572 (Rep. Gallagher) (“information on the conflict

between Israel and Hamas” is “one-sided”).            Others focused on

hypothetical future messages. See App.566 (Sen. Warner) (concern that

“TikTok videos will be promoting that Taiwan ought to be part of China”).

Some even took exception to TikTok urging users “to contact their

Representatives” about the Act. App.40 (Rep. McMorris Rodgers).

      Key legislators offered explanations for why the Act succeeded

when prior bills had failed.      Rep. Krishnamoorthi, one of the lead

sponsors, explained that the Act gained support because of “a lot of things

in the interim, including [the] Oct. 7[, 2023 Hamas terrorist attacks],

including the fact that Osama bin Laden’s ‘Letter to America’ went viral

on TikTok and the platform continued to show dramatic differences in

content relative to other social media platforms.” App.562. Immediately

after enactment, Sen. Romney stated that the reason for “such

overwhelming support for us to shut down potentially TikTok” is that “[i]f

you look at the postings on TikTok and the number of mentions of




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Palestinians relative to other social media sites, it’s overwhelmingly so

among TikTok broadcasts.” App.596.5

      F.   The Act’s Effect Is a Ban on TikTok.

      If the Act’s prohibitions take effect, they will “render the TikTok

platform inoperable in the United States.”           App.824-25 (Presser

Declaration). Absent judicial relief, the prohibitions will take effect.

Executing a “qualified divestiture” is technologically, commercially, and

legally infeasible, particularly on the Act’s timeframe of 270 days (or 360

days with a discretionary extension). Petitioners repeatedly explained to

the government that this type of divestiture is infeasible. See App.418-

24 (Letter to Justice Department).

      Technological and Operational Infeasibility.               Like other

global platforms, TikTok runs on “billions of lines of code that have been

developed over multiple years by a team of thousands of global

engineers.”    App.832 (Presser Declaration).        The Act’s qualified

divestiture requirements bar any continuing operational relationship



5 To be clear, TikTok condemns and has in place policies and processes to

promptly remove any content that promotes terrorism. The evidence
does not support the allegations that TikTok has amplified support for
either side of the Israeli-Palestinian conflict. App.781-84 (Weber
Declaration).

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with ByteDance, Sec. 2(g)(6)(B), which would preclude “thousands of

ByteDance employees” from continuing to support TikTok in the United

States, App.832-33. It would take “several years for an entirely new set

of engineers to gain sufficient familiarity with the source code” to keep a

hypothetical U.S.-only TikTok safe and functional, and even then such a

team would “need access to custom-made ByteDance software tools,”

which the Act forbids. App.833.

      The barriers to effectuating the type of divestiture required by the

Act are not unique to TikTok. As explained by Professor Randal Milch,

who served as general counsel and in other senior roles at Verizon for 21

years, “divestitures of highly integrated assets are complex and time-

consuming processes.”       App.650.      Professor Milch’s analysis of

technology-industry     transactions      demonstrates     that     “complex

divestitures of highly integrated technical assets consistently take[] over

360 days and necessitate[] post-closing support from the seller.” App.686.

This conclusion is consistent with his professional experience: three

complex divestitures at Verizon, involving a geographic separation of

highly integrated assets, which “each took between two and three times

as long as the maximum timeline the Act affords Petitioners.” App.664.



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Professor Milch concludes that because “TikTok’s U.S. application is

highly integrated with the global TikTok application,” and a “qualified

divestiture” requires a severing of all “operational relationships” between

TikTok’s U.S. application and its global application, “a ‘qualified

divestiture’ of TikTok’s U.S. application is not operationally feasible

within 360 days (let alone within 270 days).” App.649, 686.

      Commercial Infeasibility. To show global content to its U.S.

users or vice versa, a new owner of TikTok in the United States would at

minimum require a data-sharing agreement with ByteDance, App.830-

31 (Presser Declaration), which the Act forbids, Sec. 2(g)(6)(B). Thus, any

severed U.S. TikTok application would be a content “island,” with U.S.

users “unable to access the content posted by any non-U.S. TikTok users,

and U.S. creators … unable to reach that audience abroad.” App.831.

      Without the “rich pool of global content” that “translates to more

users and more traffic,” a U.S.-only version of TikTok would be

“significantly less attractive to global advertisers.” Id. And while the

costs of running and maintaining the platform are “mainly fixed,” “the

base of revenue to support them would be considerably smaller.”




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App.831-32. A U.S.-only TikTok platform therefore could not compete

with its global competitors. App.831.

      Legal Infeasibility. TikTok’s proprietary recommendation engine

is critical to its success. App.807; Creator Br. 9-12, 29-30. Just as the

United States restricts the export of U.S.-origin technologies (e.g., certain

computer chips), the Chinese government regulates the transfer of

technologies developed in China. The Chinese government has made

clear in public statements that it would not permit a forced divestment

of the recommendation engine. App.611-16 (New York Times and Xinhua

reports).

      The effect of the Act is therefore a ban.

                     SUMMARY OF ARGUMENT

      I. A. Petitioners exercise First Amendment rights, including by

curating content delivered to TikTok users, speaking on the platform,

and owning a speech platform. The Act burdens Petitioners’ expression

by shutting down TikTok in the United States. A “qualified divestiture”

is infeasible, but in any event would alter the platform and burden

Petitioners’ First Amendment rights.




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      The Act’s burdens on speech are subject to strict scrutiny. Congress

drew speaker-based distinctions, singling out specific speakers for less

favorable treatment. It also drew content-based distinctions. On its face,

the Act privileges applications that do not share speech generated by

users, as well as speech about products, business, and travel. The House

Committee Report and statements by legislators also reveal content- and

viewpoint-based discrimination.

      B. The Act’s differential treatment of TikTok is a threshold

constitutional flaw at the intersection of the First Amendment and equal

protection. There is no compelling justification for singling out TikTok,

and there is an obvious less restrictive alternative: subjecting TikTok to

the provisions governing all other alleged “foreign adversary controlled

applications.” Congress’s view was that these standards addressed the

risks posed by companies allegedly presenting a significant threat to

national security.   Thus, no national security concern could justify

denying TikTok the same standards.

      C. Beyond this threshold flaw, the Act also fails strict or even

intermediate scrutiny at every step.




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      Congress enacted no findings, making it impossible to identify and

evaluate compelling interests it may have sought to advance.

      One congressional committee suggested that TikTok could be used

to spread propaganda, disinformation, or misinformation, and could pose

risks to users’ personal data.    Those interests, even if credited, are

insufficient. As the Supreme Court has held, the government cannot

legitimately restrict speech by labeling it foreign propaganda.         With

respect to both asserted interests, conjecture of what “might” or “could”

happen does not suffice to restrict speech.

      The Act fails narrow tailoring because it is seriously underinclusive

in addressing these purported interests. Any other company—even if it

is “controlled by a foreign adversary” and poses a grave security risk—

can avoid the Act simply by disabling user submissions, or operating a

product-, business-, or travel-review application.         The Act leaves

untouched numerous vectors for disseminating propaganda, such as

foreign state-owned media applications and influence campaigns on other

platforms. It ignores many applications with substantial operations in

China that collect large amounts of U.S. user data, as well as the many




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U.S. companies that develop software and employ engineers in China, all

of which pose the same purported risks.

      Congress disregarded less restrictive means of addressing such

issues.     These include industry-wide privacy, disclosure, and vetting

regimes, and the measures Petitioners offered in the National Security

Agreement, including a significant role for a trusted U.S. technology

provider and an unprecedented “shut-down option” for the government.

      II. The Act is an unconstitutional Bill of Attainder because it

applies to Petitioners with specificity and punishes them. The Act’s

arbitrary singling out of Petitioners for adverse treatment, and the

gaping holes in its pursuit of any purported interests, confirm the Act is

punitive.

      III. The Act violates the Takings Clause. By banning the platform,

the Act will destroy the value of the U.S. TikTok business and ByteDance

Ltd.’s investment in TikTok Inc., without just compensation.

      IV. The Court should declare the Act unconstitutional and enjoin

its enforcement with respect to Petitioners’ applications. Alternatively,

the Court should temporarily enjoin enforcement and order further




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proceedings to resolve any factual disputes.       The Court should also

declare the Act’s data portability provision non-severable.

                              ARGUMENT

I.    The Act Violates the First Amendment.

      The First Amendment places a heavy burden on the government to

justify restraints on speech. If the government were afforded “the benefit

of the doubt when it attempted to restrict speech,” it “would risk leaving

regulations in place that sought to shape our unique personalities or to

silence dissenting ideas.” United States v. Playboy Ent. Grp., 529 U.S.

803, 818 (2000).

      TikTok is a unique and vibrant forum for speech. Congress cannot

shut it down without satisfying the most searching constitutional

scrutiny—it cannot demand the benefit of the doubt for whatever

national security justifications the government’s lawyers might now

raise. To the contrary, when the government invokes national security

to burden speech, it is all “the more imperative” to “preserve inviolate the

constitutional rights of free speech, free press and free assembly.” De

Jonge v. Oregon, 299 U.S. 353, 365 (1937).




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      The government cannot meet its heavy burden of justifying the

sweeping speech restriction the Act imposes. First, the Act is subject to

strict scrutiny: Petitioners engage in expression protected by the First

Amendment, the Act burdens that expression, and it does so through

facially speaker- and content-based distinctions. Second, the Act has a

threshold flaw under the First Amendment and equal protection,

irrespective of any question of national security: it expressly singles out

Petitioners        while   giving   everyone   else—including     speakers    the

government accuses of threatening national security—more favorable

standards and procedures.            And third, beyond this threshold flaw,

imposing a ban or divestiture requirement on TikTok cannot survive

First Amendment scrutiny: the Act makes no statutory findings,

advances no compelling interest, is not remotely tailored to any

purported interest, and ignores less restrictive alternatives.

      A.      The Act Is Subject to Strict Scrutiny.

              1.      Petitioners engage in protected expression.

      Petitioners exercise First Amendment rights in several ways.

      First, the First Amendment protects TikTok Inc.’s use of a

recommendation engine to “present[] … an edited compilation of speech



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generated by other[s].” Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp.

of Bos., 515 U.S. 557, 570 (1995); see also Alario v. Knudsen, 2023 WL

8270811, at *6 (D. Mont. Nov. 30, 2023) (enjoining Montana’s attempt to

ban TikTok and holding that “decisions related to how it selects, curates,

and arranges content are … protected by the First Amendment”). As the

government correctly recognizes, “companies that run social-media

platforms are in the business of delivering curated compilations that

primarily consist of speech created by others, but that constitute distinct

expressive offerings.” Br. for United States as Amicus Curiae at 18,

Moody v. NetChoice, LLC, 2023 WL 8600432 (U.S. filed Dec. 7, 2023)

(Nos. 22-277, 22-555) (quotation marks omitted).

      Second, TikTok Inc. speaks to more than 80 million followers

globally through its own TikTok account, promoting causes such as

support for small businesses, Earth Day, and literacy. App.806 (Presser

Declaration).

      Third, ByteDance Ltd. has expressive interests in its ultimate

ownership of an expressive publication. See Simon & Schuster, Inc. v.

Members of N.Y. State Crime Victims Bd., 502 U.S. 105, 116 (1991) (law




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requiring book author’s proceeds to be placed in escrow burdened

publisher’s First Amendment rights).

           2.     The Act restricts speech.

      A statute’s “practical effect” on protected speech is “sufficient to

characterize [it] as an infringement on First Amendment activities.” Fed.

Election Comm’n v. Mass. Citizens for Life, Inc., 479 U.S. 238, 255 (1986)

(plurality op.). The practical effect of the Act is to shut TikTok down,

because “qualified divestiture” is not technologically, commercially, or

legally feasible. Supra pp.21-24.

      As Professor Milch explains in detail, operational realities make a

qualified divestiture on Congress’s arbitrary timeline “entirely illusory.”

App.648. Commercial realities would place a post-divestiture TikTok, cut

off from global content, in an untenable competitive position.

See App.830-31 (Presser Declaration). And legal realities would preclude

the sale of the recommendation engine that is central to TikTok’s success.

Supra pp.23-24.

      The Act thus does not just burden Petitioners’ speech—it silences

Petitioners, along with 170 million regular TikTok users.




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      But even if a “qualified divestiture” were possible, the Act is still

subject to First Amendment scrutiny because it burdens Petitioners’

expressive activity. “[C]ontent-based burdens must satisfy the same

rigorous scrutiny as … content-based bans.” Playboy, 529 U.S. at 812.

      First, the Act places onerous conditions on TikTok Inc.’s speech.

Congress barred TikTok Inc. from continued speech unless it can attract

a new owner and take expensive, resource-intensive steps to effect a

complex transaction. See App.656-62 (Milch Declaration). Even if these

conditions could be satisfied without extinguishing TikTok Inc.’s speech,

they certainly burden TikTok Inc.’s speech. See, e.g., Miami Herald Pub.

Co. v. Tornillo, 418 U.S. 241, 256 (1974) (“penalty” on newspaper

compelled to print editorial reply included “cost in printing and

composing time and materials”).

      Second, any divestiture would change TikTok’s speech. A post-

divestiture, U.S.-only TikTok would lack the recommendation engine

that has driven its success, eliminating its preferred means of “cho[osing

the] material” that users view. Id. at 258; see supra pp.6, 13, 23-24. And

it would lose access to TikTok’s current global user base, restricting the

content it could provide to U.S. users. Supra p.23; see Creator Br. 37.



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      Third, even if TikTok could continue operating, TikTok Inc. could

lose its First Amendment right to curate and speak through that

platform.   Petitioners cannot know if the President would certify a

divestiture in which TikTok Inc. retained ownership, since Petitioners

(unlike every other company) are denied a “description of what assets

would need to be divested.”     Sec. 2(g)(3)(B)(ii)(II).   That problem is

compounded by a statutory anomaly: any application operated by TikTok

Inc. would still be, by definition, a “foreign adversary controlled

application,” even if ByteDance divested TikTok Inc. Sec. 2(g)(3)(A)(ii).

      Fourth, divestiture burdens the rights of TikTok’s ultimate owner,

ByteDance Ltd. Supra p.30. No one would doubt the burden on protected

speech if Congress ordered the Sulzberger family to sell The New York

Times. The same is true of the government dictating the sale of TikTok,

one of the country’s largest media platforms.

            3.   The Act draws speaker-based and content-based
                 distinctions.

      The Act’s burdens on speech—whether viewed as a ban or a forced

divestiture—do not fall neutrally.      Rather, they depend on who the

speaker is and what they speak about. The Act engages in textbook

speaker-based and content-based regulation, triggering strict scrutiny.


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      Speaker-Based Regulation. “Quite apart from the purpose or

effect of regulating content, … the Government may commit a

constitutional wrong when by law it identifies certain preferred

speakers.” Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 340

(2010). Thus, laws that “single out” particular speakers “present[] such

a potential for abuse” that they are presumptively unconstitutional.

Minneapolis Star & Tribune Co. v. Minn. Comm’r of Rev., 460 U.S. 575,

585, 592 (1983); see also Reed v. Town of Gilbert, 576 U.S. 155, 170 (2015)

(“[S]peech restrictions based on the identity of the speaker are all too

often simply a means to control content ….” (quotation marks omitted));

Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 658 (1994) (speaker-based

restrictions “demand strict scrutiny when they reflect the Government’s

preference for the substance of what the favored speakers have to say (or

aversion to what the disfavored speakers have to say)”).

      On its face, the Act privileges some speakers over others. Any

company other than Petitioners is insulated from the Act’s prohibitions

unless   the   government     satisfies   substantive     and    procedural

requirements. Supra pp.11-13. Petitioners’ applications face the Act’s

prohibitions and divestiture demands irrespective of those requirements.



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That is precisely the kind of “singling out” of particular speakers that

demands the highest form of scrutiny. Minneapolis Star, 460 U.S. at 581,

585.

       Content-Based Regulation.            “[A]bove all else, the First

Amendment means that government has no power to restrict expression

because of its message, its ideas, its subject matter, or its content.” Police

Dept. of Chicago v. Mosley, 408 U.S. 92, 95 (1972).                “Government

regulation of speech is content based,” and strict scrutiny governs, “if a

law applies to particular speech because of the topic discussed or the idea

or message expressed.” Reed, 576 U.S. at 163. Laws that regulate speech

“based on the specific motivating ideology or the opinion or perspective of

the speaker” represent an especially “blatant and egregious form of

content discrimination.” Id. at 168 (quotation marks omitted).

       The Act is facially content-based. A company is “covered” only if it

operates an application that permits user-generated and -shared “text,

images,    videos,   real-time   communications,     or   similar      content.”

Sec. 2(g)(2)(A)(i). Rather than applying equally to all applications that

are controlled by a foreign adversary and pose alleged security risks, the

Act targets only those that publish a disfavored category of speech.



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Applications in which all content is provided by the operator are exempt.

Thus, the Act’s burdens—whether viewed as a ban or a financially

onerous ownership restriction—expressly apply based on the content of

the application operator’s speech, i.e., whether or not it shares user-

generated content.     See, e.g., Simon & Schuster, 502 U.S. at 115

(invalidating escrow requirement for certain book proceeds because “[a]

statute is presumptively inconsistent with the First Amendment if it

imposes a financial burden on speakers because of the content of their

speech”).

      The Act further discriminates based on “the topic discussed.” Reed,

576 U.S. at 163.     If a company (other than Petitioners) operates an

application “whose primary purpose is to allow users to post product

reviews, business reviews, or travel information and reviews,”

Sec. 2(g)(2)(B), then all of its applications escape regulation under the

Act—again, no matter how grave a national security threat the company

presents.   Congress thus privileged speech on the favored topics of




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products, business, and travel, over speech on disfavored topics like

politics, religion, and entertainment. 6

      Even apart from the Act’s facial content-based discrimination, strict

scrutiny applies “when the purpose and justification for the law are

content based.” Reed, 576 U.S. at 166; accord Sorrell v. IMS Health Inc.,

564 U.S. 552, 565 (2011).

      Although Congress here enacted no “expressed statement of

purpose,” Sorrell, 564 U.S. at 565, the House Committee Report

emphasized     concerns     of   “misinformation,   disinformation,     and

propaganda.” App.2. Whether something is “misinformation” depends

on whether it is true or false—which is necessarily a judgment about its

content. See United States v. Alvarez, 567 U.S. 709, 724 (2012) (plurality

op.) (applying strict scrutiny to prohibition of false claims of military

decoration).   Similarly, whether speech is “propaganda” turns on its

content and viewpoint.

      Further, one of the Act’s lead sponsors contended that the Act

passed the House because of a perceived “dramatic difference[] in


6 Even if the provision had exempted only review applications, rather

than any company that operates such an application, the Act would still
be content-based.

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content” on TikTok “relative to other social media platforms.” App.562.

And a senator attributed the Act’s overall support to the “number of

mentions of Palestinians [on TikTok] relative to other social media sites.”

App.596; see also supra pp.19-21.

      Legislators’ perception of the content reflected on TikTok was

misinformed. Supra p.21 n.5. But well-founded or not, governmental

policing of content differences is antithetical to the First Amendment’s

“assumption that the widest possible dissemination of information from

diverse and antagonistic sources is essential to the welfare of the public,

that a free press is a condition of a free society.” Associated Press v.

United States, 326 U.S. 1, 20 (1945).

                                    ***

      In sum, the Act’s extraordinary restriction on speech requires strict

scrutiny. It is therefore unconstitutional unless it is “the least restrictive

means of achieving a compelling [government] interest.” McCullen v.

Coakley, 573 U.S. 464, 478 (2014). Even if intermediate scrutiny applied,

the Act still would have to “serve a significant governmental interest”

and be “narrowly tailored” to advance that interest. Id. at 486 (quotation

marks omitted).



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      Under either test, “[w]hen the government restricts speech, the

Government bears the burden of proving the constitutionality of its

actions.” Playboy, 529 U.S. at 816.

      The government cannot meet this heavy burden, particularly given

the absence of any legislative findings or other authoritative indication

of the reasons majorities in Congress passed the Act. First, for the

threshold reason that there is no justification for singling out TikTok as

compared to other alleged “foreign adversary controlled applications.”

Second, because the Act fails at every step of the traditional First

Amendment analysis.

      B.   The Act’s Differential Treatment of Petitioners Is a
           Standalone Violation of the First Amendment and
           Equal Protection.

      The Act suffers from a fatal, threshold constitutional flaw: Congress

singled out Petitioners by name and banned their applications outright,

while affording everyone else a substantive standard and procedural

protections. Congress offered no justification for treating Petitioners

worse than all other speakers—even speakers alleged to be controlled by

a foreign adversary and to present national security threats. That alone




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requires invalidating the Act’s application to TikTok, because there is no

justification, national security or otherwise, for that distinction.

      When Congress “burden[s] a single publisher[],” it raises issues that

“lie at the intersection of the First Amendment’s protection of free speech

and the Equal Protection Clause’s requirement that government afford

similar treatment to similarly situated persons.” News Am. Pub., Inc. v.

FCC, 844 F.2d 800, 802, 804 (D.C. Cir. 1988). For that reason, this Court

struck down a law that targeted “a corporation controlled by K. Rupert

Murdoch” “with the precision of a laser beam,” by preventing that one

company from maintaining certain broadcast licenses. Id. at 804, 814.

The Act here, which targets one company to ban any speech platform it

operates, offends the same constitutional principles. 7




7 The law in News America was unconstitutional despite “special
characteristics of broadcasting … giv[ing] Congress greater latitude in
broadcast regulation.” 844 F.2d at 805. Those characteristics “are not
present in cyberspace”; there is “no basis for qualifying the level of First
Amendment scrutiny that should be applied to” the Internet. Reno v.
Am. Civil Liberties Union, 521 U.S. 844, 868, 870 (1997).


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            1.   The Act treats Petitioners worse than other
                 alleged “foreign adversary controlled
                 applications.”

      The Act purports to address an issue broader than TikTok: “foreign

adversary controlled applications.” And it adopts a general set of rules

and procedures to govern that issue. Under that standard, a company’s

applications are not subject to divestiture or prohibition unless:

        ●   the company, its owners, or those who control it reside in
            specified countries, Sec. 2(g)(1)(A), 2(g)(4);

        ●   the company operates an application that enables users to
            generate and share content, Sec. 2(g)(2)(A);

        ●   the company does not operate an application whose primary
            purpose is the sharing of product, business, or travel reviews,
            Sec. 2(g)(2)(B);

        ●   the President determines that the company presents a
            “significant threat” to national security, Sec. 2(g)(3)(B)(ii);

        ●   the President submits a public report that describes the
            “specific” security concern, together with a classified annex
            and a description of assets requiring divestiture,
            Sec. 2(g)(3)(B)(ii)(II); and

        ●   the justifications set forth in that presidential determination
            survive judicial review, Sec. 3(a).

      But Petitioners’ applications are subject to divestiture or

prohibition irrespective of these standards and requirements.         Those




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differences in treatment impose a substantially greater burden on

Petitioners’ First Amendment rights.

      Substantively, for instance, any other company “controlled by a

foreign adversary” can simply create a product-, business-, or travel-

review application; it would then not be a “covered company,” and its

applications could not be subject to the Act.      Sec. 2(g)(2)(B).    Only

Petitioners cannot take advantage of this exemption.

      The Act’s procedural protections are also important.              The

requirement of a “specific” presidential security threat determination,

Sec. 2(g)(3)(B)(ii)(II), subject to judicial review, Sec. 3(a), ensures a

“reasoned explanation” that “offer[s] genuine justifications for [an]

important decision[], reasons that can be scrutinized by courts and the

interested public,” Dep’t of Com. v. New York, 139 S.Ct. 2551, 2575-76

(2019). By targeting Petitioners without enacting any findings justifying

its action, Congress deprived only Petitioners of the important

disciplining effect of a public justification.     And it deprived only

Petitioners of judicial review based on contemporaneously articulated

reasons for the deprivation of constitutional rights, which guards against

the risk of improper post hoc rationalizations by government lawyers. Cf.



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Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S.Ct. 1891,

1907 (2020) (“It is a foundational principle of administrative law that

judicial review of agency action is limited to the grounds that the agency

invoked when it took the action.” (quotation marks omitted)).

      That risk is particularly acute here, because it is impossible for

anyone to know why majorities of the House and Senate, and the

President, concluded that it was appropriate to single out TikTok—or

whether they even agreed on a reason for eliminating Petitioners’ free

speech rights.

      Congress even made it easier for every other company to exercise

the supposed “qualified divestiture” option. Everyone else is entitled to

a presidential “description of what assets would need to be divested to

execute a qualified divestiture.” Sec. 2(g)(3)(B)(ii)(II). Petitioners alone

are left to guess what type of divestiture would satisfy the President.

      In short, only Petitioners’ applications are automatically banned,

while any other company alleged to operate “foreign adversary controlled

applications” is given superior pathways, both substantively and

procedurally, to avoid a ban.




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            2.    The Act’s discriminatory treatment of Petitioners
                  is not justified by any compelling or significant
                  interest.

      There is no compelling, important, or even rational justification for

denying Petitioners the same standards and protections that Congress

afforded other alleged foreign adversary controlled applications.          For

every company other than Petitioners that is allegedly controlled by a

foreign adversary and poses national security concerns, Congress

determined that there is a compelling need to ban its applications only if

the Act’s standards are met and its process followed. Nothing in the Act

suggests why there is a compelling need to ban TikTok without at least

following the same standards and process.

      Nor is there any indication that Congress itself applied its generally

applicable criteria to Petitioners. Congress found no facts at all, and the

House Committee never assessed how Section 2(g)(3)(B) might apply to

Petitioners. Certainly the Justice Department’s cursory description of

“national security concerns,” App.156, is much different from a public

finding by the President of a “significant threat” backed up by

“specific[s],” Sec. 2(g)(3)(B)(ii) (emphasis added).




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      This unjustified discriminatory treatment violates not only the

First Amendment but the equal protection component of the Due Process

Clause. See Davis v. Passman, 442 U.S. 228, 234 (1979). As this Court

has explained, “[n]owhere are the protections of the Equal Protection

Clause more critical than when legislation singles out one or a few for

uniquely disfavored treatment.” News Am., 844 F.2d at 813.

      The Act defies the basic command of equal protection: “all persons

similarly situated should be treated alike.” City of Cleburne v. Cleburne

Living Ctr., 473 U.S. 432, 439 (1985).     Having laid out the criteria

Congress believed relevant to whether an application should be divested

or banned, the statutory text and legislative record provide no hint why

Petitioners must be treated differently.

      The First Amendment and equal protection problems are even more

glaring in light of the Act’s loophole for any company—except

Petitioners—that operates an application whose primary purpose is

product, business, or travel reviews. If a different company operated an

application that posed exactly the same alleged risks as TikTok, and

separately operated a travel review application, that company’s

applications would be left undisturbed.    Meanwhile, any application



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operated by Petitioners, including any application devoted to travel

reviews, is subject to divestiture or ban.      Two identical companies

operating identical applications raising identical alleged risks would be

treated differently. That is not how Congress is allowed to regulate

speech, and it is not equal protection of the laws.

           3.    The Act’s discriminatory treatment fails narrow
                 tailoring and the least-restrictive-means
                 requirement.

      There is an obvious less restrictive and more tailored alternative to

singling out Petitioners.      Congress could have simply subjected

Petitioners to the same standards, and the same process, that Congress

deemed adequate for every other speaker allegedly “controlled by a

foreign adversary.” See Burwell v. Hobby Lobby Stores, Inc., 573 U.S.

682, 730-31 (2014) (holding that law was not narrowly tailored when for-

profit corporations were denied religious accommodation offered to non-

profit corporations, without deciding whether accommodation itself was

narrowly tailored).

      It would be no answer for the government to retort that TikTok

threatens national security. The same is true—by statutory definition—

of any application subject to the generally applicable standard, which



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reaches only companies that pose a “significant threat to the national

security of the United States.” Sec. 2(g)(3)(B)(ii). There is no conceivable

reason why a less restrictive standard that Congress tailored to security-

threatening companies would be insufficient to address any threat

supposedly posed by TikTok.

                                     ***

      In sum, any claim of national security is legally irrelevant here

because it cannot justify the Act’s unconstitutional singling out of

TikTok. Congress itself laid down a generally applicable standard and

process it deemed sufficient for regulating “foreign adversary controlled

applications” that pose significant threats to national security. It just

denied Petitioners alone the protections of that standard and process, for

no reason it saw fit to share.

      C.   The Act’s Burdens on Petitioners’ Free Speech Rights
           Fail Strict Scrutiny.

      The Act’s constitutional deficiencies run even deeper than this

threshold flaw. To justify banning TikTok—whether under the specific

provision deeming it a foreign adversary controlled application, or under

the   generally   applicable     provision   for   covered   companies—the

government must satisfy strict scrutiny. Even if the Act were viewed as


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a forced divestiture, the government bears the same burden. Supra

pp.31-33. The government cannot meet that burden—or even save the

Act under intermediate scrutiny.

              1.     The Act does not advance a compelling or
                     significant interest.

      The First Amendment requires Congress to conduct a “careful

assessment and characterization of an evil,” corroborated by “hard

evidence,” to justify a restriction on speech. Playboy, 529 U.S. at 819.

The government cannot rely upon “anecdote and supposition.” Id. at 822.

Instead, it “must specifically identify an actual problem in need of

solving,” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799 (2011)

(quotation marks omitted), and offer “proof” of “how widespread or how

serious the problem … is,” Playboy, 529 U.S. at 819. And when the

government invokes national security interests, the Supreme Court has

relied on Congress’s “specific findings regarding the serious threat

posed.” Holder v. Humanitarian Law Project, 561 U.S. 1, 29 (2010)

(emphasis added).

      Here,        Congress   itself   imposed   an   extremely      broad   and

consequential speech restriction on a single, identified publisher—

without findings documenting its reasons for acting, supported by hard


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evidence.   That is very different from Congress’s usual approach of

adopting a general standard and leaving its application to the Executive

Branch and the courts, which will then justify any restriction on

constitutional rights with specific findings.

      Enacted findings are the bare minimum when Congress targets a

specific speaker.    “[P]articularly when so much is at stake, … the

Government should turn square corners.” Regents of the Univ. of Cal.,

140 S.Ct. at 1909 (quotation marks omitted). The government cannot

meet its burden of satisfying strict scrutiny when it is impossible to know

the reasons for Congress’s decision.     If Congress wishes to take the

momentous step of shutting down a specific speech platform, it must at

least say why. Requiring less would set a dangerous precedent: Congress

could target particular speakers for wholly illegitimate reasons, and

leave it to government lawyers to figure out some national security or

other compelling justification—regardless of whether it was the reason

for Congress’s action.

      Certainly a report of one committee of one house of Congress on a

prior version of the bill, or comments by individual legislators, cannot




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reliably indicate what Congress found.       In this unique context, the

absence of statutory findings by itself requires the Act’s invalidation.

      But even considering the interests proposed in the House

Committee Report—preventing the dissemination of propaganda and

protecting data security—the government still cannot meet its burden.

                 a)    “Misinformation, disinformation, and
                       propaganda”

      The House Committee Report’s charge of “misinformation,

disinformation, and propaganda,” App.2, fails for two reasons: it is a

complaint about the speech’s content, not a “governmental interest[]

unrelated to the suppression of free speech,” Humanitarian Law Project,

561 U.S. at 26-27 (emphasis added); and in any event Congress made no

showing that the Act is actually needed to address this concern.

      First, the Supreme Court at the height of the Cold War held that

the First Amendment barred efforts to ban receipt of “communist political

propaganda” from foreign countries. Lamont v. Postmaster Gen., 381

U.S. 301, 307 (1965) (quotation marks omitted). This Court has read

Lamont to recognize a right “to receive information and ideas from

abroad.” Walsh v. Brady, 927 F.2d 1229, 1235 (D.C. Cir. 1991). And

when Congress barred the President from restricting the cross-border


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flow of “any information or informational materials,” 50 U.S.C.

§ 1702(b)(3), it did so to “prevent the executive branch from restricting

the international flow of materials protected by the First Amendment,”

Kalantari v. NITV, Inc., 352 F.3d 1202, 1205 (9th Cir. 2003). Here,

though, Congress asserts the power to control the information Americans

can receive whether it originates abroad or within the United States—a

clearly improper purpose.

      Congress thus has no legitimate interest in insulating Americans

from “divisive narratives,” App.10 (House Committee Report), whether

or not that is called “propaganda.”

      Policing “disinformation” and “misinformation” is no less suspect.

Subject to narrow, well-established exceptions not applicable here,

speech does not lose First Amendment protection because the

government deems it untrue. Alvarez, 567 U.S. at 718 (plurality op.); id.

at 733 (Breyer, J., concurring in the judgment). The usual “remedy for

speech that is false is speech that is true.” Id. at 727 (plurality op.).

      Second, even if restricting speech to address propaganda and

misinformation were legitimate, the Act does not advance such an

interest.   The House Committee Report stated only that “foreign



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adversary controlled applications” “can be used” to “push misinformation,

disinformation, and propaganda on the American public.”               App.2

(emphasis added).     It quoted a 2020 presidential statement that

ByteDance Ltd. “might take action” threatening national security. App.6

(emphasis added). And it quoted the FBI director’s assertion that China

“could … control the algorithm, which could be used for influence

operations if they so chose,” and “could use TikTok … to drive divisive

narratives internationally.” App.8-10 (emphases added). And even if

these concerns were anything more than speculation, they raise industry-

wide issues not unique to TikTok. App.763 (Weber Declaration).

      The Justice Department was equally speculative in informing

Congress of its “key national security concerns”: TikTok’s use of a

“[China]-based algorithm[] creat[es] the potential for [China] to influence

content on TikTok,” and there is a “potential for [China] to exploit” the

source code. App.156 (emphases added).

      But to satisfy First Amendment scrutiny, the government “must

demonstrate that the recited harms are real, not merely conjectural.”

Turner, 512 U.S. at 664. While Congress can legislate to prevent concrete

and imminent risks from materializing, it cannot “justif[y] its intrusion



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on protected speech” by “spin[ning] a web of speculation” without “facts

or evidence.” Junior Sports Mags. Inc. v. Bonta, 80 F.4th 1109, 1119 (9th

Cir. 2023). The collection of “cans,” “coulds,” “mights,” and “potentials”

in the spare congressional deliberations falls short of what the First

Amendment requires—even if Congress had a legitimate interest in

blocking speech it deems “propaganda.”

                 b)    Data security

      The House Committee Report’s data security concerns are equally

speculative. The Report asserted that applications “can be used … to

collect vast amounts of data,” and that “[o]utside reporting” “suggest[s]”

TikTok collects such data. App.3 (emphasis added). Yet the Report

offered no evidence of TikTok disclosing user data to Chinese authorities,

just a general claim that China “can require” companies to surrender

their data.    App.4 (emphasis added).       For its part, the Justice

Department’s “concern[]” was merely that “TikTok collects tremendous

amounts of sensitive data,” and that “any company doing business in

China” can be instructed to turn over data. App.156.8


8 The Justice Department pointed to “[n]ews reports” that “ByteDance

employees in China used TikTok to repeatedly access U.S. user data” for
improper purposes. App.156. Those reports do not allege access by the

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      The lack of support in the legislative record is unsurprising.

Professor Weber explains that “aggregate data about the user

population’s video uploading and consumption behavior” might be

“commercially valuable,” but “it is unlikely to be particularly valuable to

a foreign state like China.” App.767 (Weber Declaration) (quotation

marks omitted). And if China did wish to obtain such data, it has many

other ways of doing so, including purchasing it lawfully through a party

in a third country and conducting open-source intelligence gathering.

App.767-68. The suggestion that China would seek to acquire such data

through the roundabout method of demanding it from TikTok’s owners,

while evading TikTok’s measures to block such efforts, supra pp.15-17, is

both speculative and counterintuitive.

           2.    The Act is not narrowly tailored.

                 a)    The Act is underinclusive.

      The Act is also not remotely tailored to these purported interests.

It is both overinclusive, see Creator Br. 54, 60-62, and underinclusive.




Chinese government, and the allegations are similar to compliance
challenges U.S. companies have faced. App.775-76 (Weber Declaration).


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      A “law cannot be regarded as protecting an interest of the highest

order … when it leaves appreciable damage to that supposedly vital

interest unprohibited.” Reed, 576 U.S. at 172 (quotation marks omitted).

The Act’s exclusions leave unaddressed numerous other applications that

would pose the same, or greater, propaganda and data security risks.

      For instance, as long as they do not share user-created content,

see Sec. 2(g)(2)(A), companies “controlled by a foreign adversary” are free

to operate applications that “collect vast amounts of data on Americans”

and “push misinformation, disinformation, and propaganda on the

American public,” App.2 (House Committee Report).

      The same is true of the product- and travel-review loophole. All a

company need do is also operate a product-, business-, or travel-review

application, preventing them from becoming a “covered company.”

Sec. 2(g)(2)(B). Such an inexpensive, easily exploited loophole makes the

Act’s prohibitions virtually optional for any company other than

Petitioners, even if such a company poses a serious national security

threat.

      The House Committee’s stated interest in blocking foreign

“propaganda” is also undermined by Congress’s tolerance for state-owned



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media. Russia Today and Xinhua News have been accused of pushing

propaganda and misinformation, and they offer English-language

applications in the United States.        App.787 (Weber Declaration).

Congress left such applications free to do so, as long as they do not share

user-generated content. Nor does the Act try to stop foreign adversaries

from continuing their practice of using U.S.-owned social-media

platforms to advance their agendas. App.767-68.

      The Act is also woefully underinclusive in addressing data security.

According to the Justice Department, Chinese law “requires any

company doing business in China to make its data accessible to the

[Chinese] government and to support its intelligence efforts.” App.156

(emphasis added); accord App.3 (House Committee Report) (any

“individuals and entities” in China can be compelled to “provid[e] data”).

But as Professor Weber explains, “many U.S. technology companies …

have Chinese-headquartered subsidiaries and therefore face the same

theoretical risk.” App.770. “[M]any U.S. companies” also “maintain

software and other engineering operations in China,” posing the same

alleged “risks that ‘engineers and back-end support’ may engage in

‘problematic activities.’” App.771. Yet the Act exempts such companies



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from coverage. See Sec. 2(g)(1). Many other companies with substantial

Chinese operations also collect large amounts of data from Americans.

See, e.g., App.531-39 (U.S.-China Economic and Security Review

Commission report) (discussing “data risks” posed by certain online

shopping applications); App.770-71 (Weber Declaration).           They are

likewise exempted, as long as their applications do not enable users to

create accounts to generate and share content, or if one of their

applications triggers the product/business/travel review exclusion.

      While “Congress ordinarily need not address a perceived problem

all at once,” “courts reject the facile one-bite-at-a-time explanation for

rules affecting important First Amendment values.” News Am., 844 F.2d

at 815. The Act’s glaring “[u]nderinclusiveness raises serious doubts

about whether the government is in fact pursuing the interest it invokes,

rather than disfavoring a particular speaker or viewpoint,” Brown, 564

U.S. at 802—all the more so since many Members of Congress openly

admitted to such motives, supra pp.19-21; see generally App.540-609.

                 b)    The Act is not the least restrictive means of
                       advancing Congress’s purported interests.

      Given the “breadth” of the Act’s restriction on speech—shuttering a

speech platform with 170 million U.S. users—the First Amendment


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“imposes an especially heavy burden on the Government to explain why

a less restrictive provision would not be as effective.” Reno, 521 U.S.

at 879.   Yet there is no indication that Congress even considered

“evidence as to how effective or ineffective” less restrictive alternatives

would be. Sable Commc’ns of Cal., Inc. v. FCC, 492 U.S. 115, 129-30

(1989) (emphasis omitted).

      For example, in addressing the asserted propaganda and

misinformation concern, Congress could have considered requiring (as

the European Union does) that large online platforms disclose their

content-moderation policies and provide approved researchers with data

to assess whether they amplify or suppress particular viewpoints.

App.633, 637-39 (EU Digital Services Act). “[D]isclosure” is frequently “a

less restrictive alternative to more comprehensive regulations of speech.”

Citizens United, 558 U.S. at 369; see also Meese v. Keene, 481 U.S. 465,

482-85 (1987) (upholding disclosure requirements for dissemination of

foreign political propaganda).

      Congress could also have addressed data security concerns in a less

restrictive way. As part of the same omnibus legislation containing the

Act, Congress barred “data broker[s]” from “mak[ing] available



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personally identifiable sensitive data of a United States individual” to

certain countries and entities. Pub. L. No. 118-50, div. I, § 2(a) (2024).

Rather than banning TikTok, Congress could have applied this

prohibition more broadly, not just to “brokers.” See App.768-69 (Weber

Declaration).

      And if Congress had been concerned about TikTok potentially

“track[ing] the locations of Federal employees and contractors,” App.6

(House Committee Report), it could have extended the ban on the use of

TikTok on government devices to federal employees’ and contractors’

personal devices. See No TikTok on Government Devices Act, Pub. L.

No. 117-328, div. R, 136 Stat. 4459, 5258 (2022); 48 C.F.R. § 52.204-27.

      The government also could have executed the draft National

Security Agreement.9      Petitioners have already spent $2 billion

voluntarily implementing many of its measures, but others require the

government’s cooperation, such as oversight by government-approved

directors and the “shut-down option” Petitioners offered.




9 In contrast with the Act, other bills have proposed exempting
applications where there is a mitigation agreement with the Committee
on Foreign Investment in the United States. See RESTRICT Act, S. 686,
118th Cong. § 13 (2023).

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      Christopher Simkins, drawing on his background leading the

Justice Department’s role in foreign investment review, concludes that

this Agreement “effectively mitigates national security risk associated

with” TikTok. App.756. He points to the Agreement’s “combination” of

features, including the “level of independence” of a new corporate entity,

“reliance on multiple trusted third parties such as Oracle, the operational

security processes, complex and thorough technical mitigations, as well

as unprecedented oversight, monitoring, and very rigorous enforcement

mechanisms.” Id. Mr. Simkins “cannot conceive of a more technically

secure mitigation scheme.” Id.

      The House Committee Report briefly addressed Project Texas,

noting that some activities like code development “would remain in

China,” but “subject to proposed safeguards.”       App.4-5.     The House

Committee Report did not conclude that the “proposed safeguards” were

insufficient.   It merely noted that code development in China

“potentially”—not actually—exposes U.S. users to risk. App.5.

      The House Committee Report also never mentioned the draft

National Security Agreement or its additional protections, such as the

“shut-down option.”    The government cannot meet its burden where



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Congress never even considered less restrictive alternatives, much less

found them wanting.      See Sable Commc’ns, 492 U.S. at 129 (“[T]he

congressional record contains no legislative findings that would justify us

in concluding that there is no constitutionally acceptable less restrictive

means, short of a total ban, to achieve the Government’s interest….”).

      In short, Congress reached for a sledgehammer without even

considering if a scalpel would suffice. It ordered the closure of one of the

largest platforms for speech in the United States and left Petitioners—

and the public—to guess at the reasons why a wide range of less speech-

restrictive alternatives were disregarded.        The First Amendment

demands much more.

II.   The Act Is an Unconstitutional Bill of Attainder.

      Article I of the Constitution forbids Congress from enacting any

“Bill of Attainder or ex post facto Law.” U.S. Const. art. I, § 9, cl. 3.

Courts have long interpreted that provision “in light of the evil the

Framers had sought to bar: legislative punishment, of any form or

severity, of specifically designated persons or groups.” United States v.

Brown, 381 U.S. 437, 447 (1965); see also Immigration & Naturalization

Serv. v. Chadha, 462 U.S. 919, 962 (1983) (Powell, J., concurring in the



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judgment) (Bill of Attainder Clause reflects Framers’ “concern that a

legislature should not be able unilaterally to impose a substantial

deprivation on one person”).

      “[A] law is prohibited under the bill of attainder clause if it

(1) applies with specificity, and (2) imposes punishment.” Foretich v.

United States, 351 F.3d 1198, 1217 (D.C. Cir. 2003) (quotation marks

omitted). The Act does both.

      A.    The Act Applies to Petitioners with Specificity.

      “[S]pecificity may be satisfied if the statute singles out a person or

class by name.” Id. The Act does just that, singling out “ByteDance[]

Ltd.” and “TikTok [Inc.]” by name. Sec. 2(g)(3)(A).

      B.    The Act Punishes Petitioners.

      To determine whether legislation “imposes punishment,” courts

conduct “three necessary inquiries,” considering whether the law

(1) “further[s] nonpunitive legislative purposes” (the “functional test”);

(2) “falls within the historical meaning of legislative punishment” (the

“historical test”); or (3) has a legislative record “evinc[ing] a congressional

intent to punish” (the “motivational test”). Kaspersky Lab, Inc. v. Dep’t

of Homeland Sec., 909 F.3d 446, 455, 460, 463 (D.C. Cir. 2018) (quoting



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Selective Serv. Sys. v. Minn. Pub. Interest Rsch. Grp., 468 U.S. 841, 852

(1984)).   The “functional test” is the “most important.”       Id. at 455

(quotation marks omitted). The Act is punishment under all three.

      Functional Test. The functional test asks whether a law, “viewed

in terms of the type and severity of burdens imposed, reasonably can be

said to further nonpunitive legislative purposes.” Nixon v. Adm’r of Gen.

Servs., 433 U.S. 425, 475-76 (1977).     The Act’s burdens are severe:

Petitioners are forbidden from operating any application in the United

States. Supra pp.21-24, 31. The Act’s structure, and its extraordinary

under- and over-inclusiveness, make it “reasonable to conclude that

punishment of individuals disadvantaged by the enactment was the

purpose of the decisionmakers.” Nixon, 433 U.S. at 476.

      “[B]ecause the Bill of Attainder Clause is principally concerned

with [t]he singling out of an individual for legislatively prescribed

punishment … the functional test necessarily takes account of the scope

or selectivity of a statute in assessing the plausibility of alleged

nonpunitive purposes.” Foretich, 351 F.3d at 1224 (cleaned up). Thus,

in Foretich, where Congress had intervened in a single child custody

matter, this Court rejected the suggestion that Congress acted for the



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non-punitive reason of protecting the best interests of the child. Congress

“[e]vidently” believed that the “existing [custody] standard” “was

perfectly adequate to protect” that interest “in all cases save one.” Id.

The fact that Congress “singled out” one person to apply a different

standard “belie[d] the claim that Congress’s purposes were nonpunitive.”

Id.

      Likewise here, Congress evidently believed that its generally

applicable standard for designating foreign adversary controlled

applications was perfectly adequate to protect national security in all

cases save one—Petitioners’ applications. Indeed, Congress considered

the generally applicable standard sufficient for companies specifically

found by the President to pose a significant national security threat.

Sec. 2(g)(3)(B)(ii). Singling out Petitioners to be treated worse than such

companies belies the claim that Congress’s purposes were nonpunitive.

      The Act’s structure makes this case much different from Kaspersky,

where this Court upheld a law ordering the removal of a Russian

cybersecurity firm’s software from federal information systems. 909 F.3d

at 465. The “severity of burden” from restricting a company from doing

business with the federal government, id. at 455, is far less than banning



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its business entirely. And another key difference is Congress’s view that

“Kaspersky’s Russian ties differ in degree and kind from [all] other

companies’,” putting Kaspersky “in a class of its own.” Id. at 459. Here,

Congress singled out TikTok despite defining the problem at a higher

level of generality (“foreign adversary controlled applications” generally),

and making no findings explaining its refusal to apply the general

standard to TikTok.

      A law also fails “the functional test when its reach is

underinclusive” or “overbroad.” Id. at 456. “The functional test is more

exacting than rational basis review,” with this Court sometimes

mandating a “clear and convincing” showing of nonpunitive aims (and

other times a “coherent and reasonable nexus … between the burden

imposed and nonpunitive purpose furthered”).         Id. (quotation marks

omitted). 10

      The Act fails either articulation of the test. Congress left other

applications with substantial China operations free to collect reams of



10 Although “the Bill of Attainder Clause does not require narrow
tailoring,” Kaspersky, 909 F.3d at 456, the First Amendment does. But
in light of the Act’s dramatic lack of means-ends fit, the Act is an
unconstitutional Bill of Attainder independent of its speech burdens.


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U.S. user data. Supra pp.54-57. Foreign adversary-owned media can

deliver their narratives to Americans through their own applications,

newspapers, and cable networks, and by placing content on other major

social-media platforms. Supra p.55. Any other “adversary controlled”

social-media application is free to operate in the United States, provided

its owner takes the trivially inexpensive step of setting up a product-,

business-, or travel-review application. Supra pp.11-12, 45-46, 54-55.

Meanwhile, the Act bans Petitioners from operating not just TikTok but

any application, irrespective of any conceivable nexus to the asserted

concerns. See Sec. 2(g)(3)(A). And the Act singles out Petitioners for this

especially harsh treatment despite the billions of dollars they have spent

protecting U.S. user data and content integrity, and despite the

additional protections they offered the government, supra pp.15-17,

which other alleged “foreign adversary controlled applications” need not

do in order to avoid a ban, supra pp.41-43.

      In short, Congress left gaping holes in the Act’s ability to address

any purported nonpunitive interest. That is a powerful indication that

punishing Petitioners was the point.




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      Historical Test. Courts also ask “whether the challenged statute

falls within the historical meaning of legislative punishment.” Selective

Serv. Sys., 468 U.S. at 852. The Act bars Petitioners from their chosen

business and orders them to relinquish their property or see it become

worthless, close analogs to the “pains and penalties” the Bill of Attainder

Clause historically prohibited.     See, e.g., id. (“legislative bars to

participation ... in specific employments or professions”); Kaspersky, 909

F.3d at 454 (“confiscation of property”). Even without these analogs, the

Act is “punishment” under the historical test because “the burden

imposed so dramatically outweigh[s] the benefit gained that courts c[an]

infer only a punitive purpose.” Kaspersky, 909 F.3d at 460.

      Motivational Test.      The motivational test asks “whether the

legislative record evinces a congressional intent to punish.” Selective

Serv. Sys., 468 U.S. at 852 (quotation marks omitted).           Here, the

“legislative history, the context [and] timing of the legislation, [and]

specific aspects of the text [and] structure” of the Act all confirm

Congress’s punitive intent. Foretich, 351 F.3d at 1225.

      The record abounds with evidence that Members of Congress

sought to punish TikTok based on the viewpoints they perceived were



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being expressed. See supra pp.19-21. This case is unlike Kaspersky,

where the company could produce only “isolated statements” from a

single Member of Congress. 909 F.3d at 464.

      The same conclusion follows from the “focus of the Act”—its striking

two-tiered structure, its generous loopholes for every other company, and

the “unusual” process through which it was passed. Foretich, 351 F.3d

at 1225. Indeed, congressional leaders left no doubt that this was a

“TikTok bill” or “TikTok legislation.” App.621 (Speaker of the House);

App.619 (Senate Majority Leader). All of this “demonstrate[s] that the

legislative process in this case amounted to precisely that which the Bill

of Attainder Clause was designed to prevent: a congressional

determination of blameworthiness and infliction of punishment.”

Foretich, 351 F.3d at 1225.

III. The Act Effects an Unconstitutional Taking.

      The Fifth Amendment provides that “private property” shall not “be

taken for public use, without just compensation.” U.S. Const. amend. V.

A taking occurs not only when the government “appropriat[es] private

property,” but also when it “goes too far” in regulating its use. Cedar

Point Nursery v. Hassid, 141 S.Ct. 2063, 2071-72 (2021) (quotation marks



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omitted).    While a multifactor balancing test generally applies, a

regulation is a per se taking if it deprives the owner of “all economically

beneficial use of her property.” Lingle v. Chevron U.S.A. Inc., 544 U.S.

528, 538 (2005) (cleaned up).

      The Act is such a taking, rendering the TikTok platform defunct in

the United States and destroying its considerable value. See App.824-27

(Presser Declaration); Kimball Laundry Co. v. United States, 338 U.S. 1,

10-12 (1949) (property interests protected by Takings Clause can include

going-concern value of business). And since TikTok Inc.’s business is its

operation of TikTok in the United States, see App.801 (Presser

Declaration), ByteDance Ltd.’s investment in TikTok Inc. is likewise

nullified.

      The Act provides no just compensation. Ordinarily a claim for such

compensation is “brought to the Court of Federal Claims …, unless

Congress has withdrawn the Tucker Act grant of jurisdiction in the

relevant statute.” Eastern Enters. v. Apfel, 524 U.S. 498, 520 (1998)

(plurality op.). Congress did so here, making this Court’s jurisdiction

“exclusive.” Sec. 3(b). An injunction is therefore required. See, e.g.,

Pharm. Rsch. & Mfrs. of Am. v. Williams, 64 F.4th 932, 945 (8th Cir.



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2023) (injunction of taking appropriate where there is no adequate legal

remedy).

IV.   The Court Should Declare the Act Unconstitutional and
      Enjoin Its Enforcement with Respect to Petitioners’
      Applications.

      Pursuant to the Court’s May 28, 2024 Order, Petitioners set out

here their requests for relief “otherwise properly raised” in “dispositive

motions.” For the reasons explained in support of Petitioners’ request for

expedited consideration, Petitioners respectfully request a decision by

December 6, 2024.      See Joint Motion to Govern Proceedings, Doc.

#2055129, at 8.

      A.   The Court Should Enjoin Enforcement of Section 2(a)
           with Respect to Petitioners’ Applications.

      For the reasons explained above, the Court should declare

unconstitutional, and enjoin the enforcement of, the prohibitions of

Section 2(a) with respect to Petitioners’ applications.

      “[T]he loss of constitutional freedoms … unquestionably constitutes

irreparable injury,” Mills v. District of Columbia, 571 F.3d 1304, 1312

(D.C. Cir. 2009) (quotation marks omitted), as does the Act’s “threat[]” to

“the very existence of [Petitioners’] business,” Wis. Gas Co. v. FERC, 758

F.2d 669, 674 (D.C. Cir. 1985) (per curiam). There are no adequate


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remedies at law because the United States has not consented to be sued

for damages. United States v. Mitchell, 463 U.S. 206, 212 (1983). The

balance of hardships and public interest merge, see Nken v. Holder, 556

U.S. 418, 435 (2009), and “enforcement of an unconstitutional law is

always contrary to the public interest,” Gordon v. Holder, 721 F.3d 638,

653 (D.C. Cir. 2013).

      B.   In the Alternative, the Court Should Temporarily
           Enjoin the Act and Order Further Proceedings.

      It is not yet apparent how the government will seek to defend the

Act. The government may offer post hoc justifications and attempt to

introduce corresponding evidence. But see Kennedy v. Bremerton Sch.

Dist., 142 S.Ct. 2407, 2432 n.8 (2022) (“Government justification[s] for

interfering with First Amendment rights must be genuine, not

hypothesized or invented post hoc in response to litigation.” (quotation

marks omitted)). The government may follow through on its suggestion

that it might seek to submit secret evidence concealed from Petitioners

and the public. See Doc. #2055129. But see Abourezk v. Reagan, 785 F.2d

1043, 1061 (D.C. Cir. 1986) (“Only in the most extraordinary

circumstances does our precedent countenance court reliance upon ex

parte evidence to decide the merits of a dispute.”).


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      Whatever the government does, there would remain purely legal

grounds to invalidate the Act. See, e.g., supra § I.B. If, however, the

Court were to find genuine issues of material fact that preclude judgment

at this stage, it should temporarily enjoin the Act and order further

proceedings. Cf. Ashcroft v. Am. Civil Liberties Union, 542 U.S. 656, 671

(2004) (affirming injunction and “remanding for trial” to “require the

Government to shoulder its full constitutional burden of proof”).

      C.   The Court Should Declare Section 2(b) Non-Severable.

      Section 2(b) requires the owner of a “foreign adversary controlled

application” to provide users, upon request, “all the available data related

to the account of such user.” The time for compliance is “[b]efore the date

on which a prohibition under subsection (a) applies.”             Id.   When

subsection (a) is enjoined, however, the “date on which a prohibition

under subsection (a) applies” never arrives. Thus, Section 2(b) is non-

severable under the Act’s severability clause: it is not a “provision[] …

that can be given effect without the invalid provision.” Sec. 2(e)(1).

                             CONCLUSION

      The Court should enter judgment for Petitioners and award their

requested relief.



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                                    Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

      1.   This brief complies with the type-volume limitations set by

the Court’s order of May 28, 2024 because this brief contains 12,983

words, excluding the parts of the brief exempted by Fed. R. App. P. 32(f).

      2.   This brief complies with the typeface requirements of

Fed. R. App. P. 32(a)(5)   and   the     type     style    requirements       of

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Word using proportionally spaced, 14-point Century Schoolbook font.


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                      CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing with the

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of Columbia Circuit by using the appellate CM/ECF system on June 20,

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        I certify that all participants in the case are registered CM/ECF

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    Protecting Americans from Foreign Adversary Controlled
        Applications Act, Pub. L. No. 118-50, div. H (2024)

SEC. 1. SHORT TITLE.

     This division may be cited as the “Protecting Americans from
Foreign Adversary Controlled Applications Act”.

SEC. 2. PROHIBITION OF FOREIGN ADVERSARY
        CONTROLLED APPLICATIONS.

      (a) IN GENERAL.—

           (1) PROHIBITION OF FOREIGN ADVERSARY CONTROLLED
      APPLICATIONS.—It shall be unlawful for an entity to distribute,
      maintain, or update (or enable the distribution, maintenance, or
      updating of) a foreign adversary controlled application by carrying
      out, within the land or maritime borders of the United States, any
      of the following:

               (A) Providing services to distribute, maintain, or update
          such foreign adversary controlled application (including any
          source code of such application) by means of a marketplace
          (including an online mobile application store) through which
          users within the land or maritime borders of the United States
          may access, maintain, or update such application.

               (B) Providing internet hosting services to enable the
          distribution, maintenance, or updating of such foreign
          adversary controlled application for users within the land or
          maritime borders of the United States.

          (2) APPLICABILITY.—Subject to paragraph (3), this subsection
      shall apply—

               (A) in the case of an application that satisfies the
          definition of a foreign adversary controlled application
          pursuant to subsection (g)(3)(A), beginning on the date that is
          270 days after the date of the enactment of this division; and


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               (B) in the case of an application that satisfies the
          definition of a foreign adversary controlled application
          pursuant to subsection (g)(3)(B), beginning on the date that is
          270 days after the date of the relevant determination of the
          President under such subsection.

          (3) EXTENSION.—With respect to a foreign adversary
      controlled application, the President may grant a 1-time extension
      of not more than 90 days with respect to the date on which this
      subsection would otherwise apply to such application pursuant to
      paragraph (2), if the President certifies to Congress that—

              (A) a path to executing a qualified divestiture has been
          identified with respect to such application;

              (B) evidence of significant progress toward executing
          such qualified divestiture has been produced with respect to
          such application; and

              (C) there are in place the relevant binding legal
          agreements to enable execution of such qualified divestiture
          during the period of such extension.

      (b) DATA AND INFORMATION PORTABILITY TO ALTERNATIVE
APPLICATIONS.—Before the date on which a prohibition under subsection
(a) applies to a foreign adversary controlled application, the entity that
owns or controls such application shall provide, upon request by a user of
such application within the land or maritime borders of United States, to
such user all the available data related to the account of such user with
respect to such application. Such data shall be provided in a machine
readable format and shall include any data maintained by such
application with respect to the account of such user, including content
(including posts, photos, and videos) and all other account information.

      (c) EXEMPTIONS.—

          (1) EXEMPTIONS     FOR QUALIFIED DIVESTITURES.—Subsection
      (a)—



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               (A) does not apply to a foreign adversary controlled
          application with respect to which a qualified divestiture is
          executed before the date on which a prohibition under
          subsection (a) would begin to apply to such application; and

               (B) shall cease to apply in the case of a foreign adversary
          controlled application with respect to which a qualified
          divestiture is executed after the date on which a prohibition
          under subsection (a) applies to such application.

          (2) EXEMPTIONS FOR CERTAIN NECESSARY SERVICES.—
      Subsections (a) and (b) do not apply to services provided with
      respect to a foreign adversary controlled application that are
      necessary for an entity to attain compliance with such subsections.

      (d) ENFORCEMENT.—

          (1) CIVIL PENALTIES.—

               (A) FOREIGN ADVERSARY CONTROLLED APPLICATION
          VIOLATIONS.—An entity that violates subsection (a) shall be
          subject to pay a civil penalty in an amount not to exceed the
          amount that results from multiplying $5,000 by the number of
          users within the land or maritime borders of the United States
          determined to have accessed, maintained, or updated a foreign
          adversary controlled application as a result of such violation.

               (B) DATA AND INFORMATION VIOLATIONS.—An entity that
          violates subsection (b) shall be subject to pay a civil penalty in
          an amount not to exceed the amount that results from
          multiplying $500 by the number of users within the land or
          maritime borders of the United States affected by such
          violation.

          (2) ACTIONS BY ATTORNEY GENERAL.—The Attorney General—

               (A) shall conduct investigations related to potential
          violations of subsection (a) or (b), and, if such an investigation
          results in a determination that a violation has occurred, the


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          Attorney General shall pursue enforcement under paragraph
          (1); and

               (B) may bring an action in an appropriate district court of
          the United States for appropriate relief, including civil
          penalties under paragraph (1) or declaratory and injunctive
          relief.

      (e) SEVERABILITY.—

          (1) IN GENERAL.—If any provision of this section or the
      application of this section to any person or circumstance is held
      invalid, the invalidity shall not affect the other provisions or
      applications of this section that can be given effect without the
      invalid provision or application.

           (2) SUBSEQUENT DETERMINATIONS.—If the application of any
      provision of this section is held invalid with respect to a foreign
      adversary controlled application that satisfies the definition of such
      term pursuant to subsection (g)(3)(A), such invalidity shall not
      affect or preclude the application of the same provision of this
      section to such foreign adversary controlled application by means
      of a subsequent determination pursuant to subsection (g)(3)(B).

     (f) RULE OF CONSTRUCTION.—Nothing in this division may be
construed—

          (1) to authorize the Attorney General to pursue enforcement,
      under this section, other than enforcement of subsection (a) or (b);

          (2) to authorize the Attorney General to pursue enforcement,
      under this section, against an individual user of a foreign adversary
      controlled application; or

           (3) except as expressly provided herein, to alter or affect any
      other authority provided by or established under another provision
      of Federal law.

      (g) DEFINITIONS.—In this section:


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          (1) CONTROLLED BY A FOREIGN ADVERSARY.—The term
      “controlled by a foreign adversary” means, with respect to a covered
      company or other entity, that such company or other entity is—

               (A) a foreign person that is domiciled in, is headquartered
          in, has its principal place of business in, or is organized under
          the laws of a foreign adversary country;

               (B) an entity with respect to which a foreign person or
          combination of foreign persons described in subparagraph (A)
          directly or indirectly own at least a 20 percent stake; or

              (C) a person subject to the direction or control of a foreign
          person or entity described in subparagraph (A) or (B).

          (2) COVERED COMPANY.—

               (A) IN GENERAL.—The term “covered company” means an
          entity that operates, directly or indirectly (including through a
          parent company, subsidiary, or affiliate), a website, desktop
          application, mobile application, or augmented or immersive
          technology application that—

                   (i) permits a user to create an account or profile to
               generate, share, and view text, images, videos, real-time
               communications, or similar content;

                   (ii) has more than 1,000,000 monthly active users
               with respect to at least 2 of the 3 months preceding the
               date on which a relevant determination of the President is
               made pursuant to paragraph (3)(B);

                   (iii) enables 1 or more users to generate or distribute
               content that can be viewed by other users of the website,
               desktop application, mobile application, or augmented or
               immersive technology application; and

                   (iv) enables 1 or more users to view content generated
               by other users of the website, desktop application, mobile
               application, or augmented or immersive technology
               application.
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               (B) EXCLUSION.—The term “covered company” does not
          include an entity that operates a website, desktop application,
          mobile application, or augmented or immersive technology
          application whose primary purpose is to allow users to post
          product reviews, business reviews, or travel information and
          reviews.

           (3) FOREIGN ADVERSARY CONTROLLED APPLICATION.—The term
      “foreign adversary controlled application” means a website, desktop
      application, mobile application, or augmented or immersive
      technology application that is operated, directly or indirectly
      (including through a parent company, subsidiary, or affiliate), by—

              (A) any of—

                     (i)   ByteDance, Ltd.;

                     (ii) TikTok;

                   (iii) a subsidiary of or a successor to an entity
               identified in clause (i) or (ii) that is controlled by a foreign
               adversary; or

                   (iv) an entity owned or controlled, directly or
               indirectly, by an entity identified in clause (i), (ii), or (iii);
               or

              (B) a covered company that—

                     (i)   is controlled by a foreign adversary; and

                   (ii) that is determined by the President to present a
               significant threat to the national security of the United
               States following the issuance of—

                         (I) a    public        notice     proposing       such
                     determination; and

                         (II) a public report to Congress, submitted not
                     less than 30 days before such determination,
                     describing the specific national security concern

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                     involved and containing a classified annex and a
                     description of what assets would need to be divested
                     to execute a qualified divestiture.

            (4) FOREIGN ADVERSARY COUNTRY.—The term “foreign
      adversary country” means a country specified in section 4872(d)(2)
      of title 10, United States Code.

          (5) INTERNET HOSTING SERVICE.—The term “internet hosting
      service” means a service through which storage and computing
      resources are provided to an individual or organization for the
      accommodation and maintenance of 1 or more websites or online
      services, and which may include file hosting, domain name server
      hosting, cloud hosting, and virtual private server hosting.

         (6) QUALIFIED DIVESTITURE.—The term “qualified divestiture”
      means a divestiture or similar transaction that—

               (A) the President determines, through an interagency
          process, would result in the relevant foreign adversary
          controlled application no longer being controlled by a foreign
          adversary; and

               (B) the President determines, through an interagency
          process, precludes the establishment or maintenance of any
          operational relationship between the United States operations
          of the relevant foreign adversary controlled application and any
          formerly affiliated entities that are controlled by a foreign
          adversary, including any cooperation with respect to the
          operation of a content recommendation algorithm or an
          agreement with respect to data sharing.

          (7) SOURCE CODE.—The term “source code” means the
      combination of text and other characters comprising the content,
      both viewable and nonviewable, of a software application, including
      any publishing language, programming language, protocol, or
      functional content, as well as any successor languages or protocols.

           (8) UNITED STATES.—The term “United States” includes the
      territories of the United States.
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SEC. 3. JUDICIAL REVIEW.

      (a) RIGHT OF ACTION.—A petition for review challenging this
division or any action, finding, or determination under this division may
be filed only in the United States Court of Appeals for the District of
Columbia Circuit.

      (b) EXCLUSIVE JURISDICTION.—The United States Court of Appeals
for the District of Columbia Circuit shall have exclusive jurisdiction over
any challenge to this division or any action, finding, or determination
under this division.

      (c) STATUTE OF LIMITATIONS.—A challenge may only be brought—

          (1) in the case of a challenge to this division, not later than
      165 days after the date of the enactment of this division; and

          (2) in the case of a challenge to any action, finding, or
      determination under this division, not later than 90 days after the
      date of such action, finding, or determination.




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